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Jeff Johnson (00:00):
It's over.

James Garretson (00:00):
What are you talking about? What's that?

James Garretson (00:00):
What?

Jeff Johnson (00:00):
So, um, my meeting is this Thursday at 10:30.

James Garretson (00:16):
With Joe's lawyers or whatever?

Jeff Johnson (00:18):
Yeah.

James Garretson (00:18):
Gotcha.

Jeff Johnson (00:18):
Have you talked to Matt?

James Garretson (00:23):
No, I haven't even tried to call him.

Jeff Johnson (00:25):
Huh?

James Garretson (00:27):
What's calling him going to do anything? He ain't going to do anything.

Jeff Johnson (00:31):
Okay. So I'm going to go ahead and dump everything.

James Garretson (00:36):
Just do it.

Jeff Johnson (00:36):
Okay, I just wanted to touch base with you and make sure you were still on my side.

James Garretson (00:39):

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Yeah, just call me in the morning, bro. I'm just asleep. Man, I had a bad day today. Give me a call in the
morning.

Jeff Johnson (00:44):
All right then.

James Garretson (00:45):
All right, bye.

Jeff Johnson (00:45):
Bye.




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                                                                                            Exhibit 74
